               Case 1:23-cv-01198-CJN Document 43 Filed 04/12/24 Page 1 of 6




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
HERITAGE FOUNDATION &                )
MIKE HOWELL                          )
                                     )
                  Plaintiffs,        )
                                     )
v.                                   )  Case No. 23-cv-1198 (CJN)
                                    )
U.S. DEPARTMENT OF HOMELAND         )
SECURITY                            )
                                    )
                  Defendant.        )
____________________________________)

                        DECLARATION OF SAMUEL EVERETT DEWEY

          1.       My name is Samuel Everett Dewey. I am counsel to Plaintiffs in this action.

          2.       Attached as Exhibit 1 hereto is a true and correct copy of the transcript of a March

25, 2024, Sky News Interview of the Hon. Jane Hartley, the United States Ambassador to the

Court of Saint James’s (“Ambassador Hartley”). See also https://news.sky.com/video/in-full-

kay-burley-speaks-to-us-ambassador-to-the-uk-13101233 (last visited Apr. 12, 2024) (full

video).

          3.       Ambassador Hartley statement was made in response to President Donald J.

Trump’s comments on March 19, 2024 during an interview with GB News, and on February 24,

2024 to the Daily Express US. See Donald Trump threatens to deport Prince Harry by warning

‘I won’t protect you like Biden’, Daily Express US (Feb. 25, 2024, 4:46 AM), https://www.the-

express.com/news/royals/129026/donald-trump-deport-prince-harry-joe-biden.

          4.       Attached as Exhibit 2 hereto is a true and correct copy of the March 19, 2024 GB

News transcript.




                                                    1
            Case 1:23-cv-01198-CJN Document 43 Filed 04/12/24 Page 2 of 6




       5.       Attached as Exhibit 3 hereto is a true and correct copy of a printout of the Daily

Express US article.

       6.       Below are true and correct screen shots showing how Sky News billed the March

25, 2024 interview with Ambassador Hartley as occurring in her official capacity:




                                                  2
            Case 1:23-cv-01198-CJN Document 43 Filed 04/12/24 Page 3 of 6




       7.       Below are true and correct screen shots from Ambassador Hartley’s official X

(formerly Twitter) account concerning the March 25, 2023 Sky News interview 1:

       Screenshot 1:




1
  Ambassador Jane Hartley (@USAmbUK), Twitter, (Mar. 25, 2024, 4:32 AM),
https://twitter.com/USAmbUK/status/1772179667845317011; Sky News (@SkyNews), Twitter,
(Mar. 25, 2024, 2:02 AM)[Amb. Hartley reposted this tweet],
https://twitter.com/SkyNews/status/1772142026043117893; Daily Mail Online (@MailOnline),
Twitter, (Mar. 25, 2024) )[Amb. Hartley reposted this tweet],
https://twitter.com/MailOnline/status/1772253670597394761.
                                                3
  Case 1:23-cv-01198-CJN Document 43 Filed 04/12/24 Page 4 of 6



Screenshot 2:




                                4
  Case 1:23-cv-01198-CJN Document 43 Filed 04/12/24 Page 5 of 6



Screenshot 3:




                                5
          Case 1:23-cv-01198-CJN Document 43 Filed 04/12/24 Page 6 of 6




I declare under the penalty of perjury that the foregoing is true and correct.




April 12, 2024                                        /s/ Samuel Everett Dewey   _
                                                         Samuel Everett Dewey




                                                  6
